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 5
     Attorney for Defendant
 6
     DARRON D. ROSS

 7
                            IN THE UNITED STATES MAGISTRATE COURT
 8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                      )       CR NO. S-18-0266 WBS
11
                                                    )
            Plaintiff,                              )
12
                                                    )       UNOPPOSED REQUEST AND ORDER TO
                                                    )       MODIFY DEFENDANT’S CONDITIONS
     v.                                             )       OF RELEASE
13
                                                    )
14   WILLIS ET AL,                                  )
                                                    )
15
                                                    )
            Defendant.                              )
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                                                    )
                                                    )
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18          Defendant Darron D. Ross is requested Special Condition 14 (ECF# 30) be deleted from
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     his conditions of release. Special Condition 14 provides:
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            “You must participate in the following location monitoring program component and
21
     abide by all the requirements of the program, which will include having a location monitoring
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23   unit installed in your residence and a radio frequency transmitter device attached to your

24   person. You must comply with all instructions for the use and operation of said devices as given
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     to you by the Pretrial Services Agency and employees of the monitoring company. You must pay
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     all or part of the costs of the program based upon your ability to pay, as determined by the
27
     pretrial services officer.”
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 1          Pretrial Services and counsel for the government were consulted regarding the request
 2
     made herein and neither has an objection to this request.1 As such, Mr. Ross respectfully
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     requests he be granted the relief sought herein.2 (Attached to this motion are the Second
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 5
     Amended Special Conditions of Release provided by Pretrial Services consistent with the relief

 6   requested herein.)
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 8
     Dated: September 19, 2019                            Respectfully submitted,
 9
                                                          /S/ John R. Manning
10
                                                          John R. Manning
11                                                        Attorney for Defendant Darron Ross

12   IT IS SO ORDERED
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14   Dated: September 20, 2019

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24   1
      Pretrial Services advised the defendant is presently in compliance with his release conditions
25   and there have been no previous issues with the defendant and compliance with his release
     conditions.
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     2
      Should the court agree to this request, present Special Condition 15 (ECF #30) would also be
27
     deleted: “CURFEW: You must remain inside your residence every day from 6:00 pm to 6:00 am,
28   or as adjusted by the pretrial services officer for medical, religious services, employment or
     court-ordered obligations.”

                                                     2
